                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                3:13-cr-293-MOC

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                             ORDER
JERONZA THORNE,                        )
                                       )
                  Defendant.           )
_______________________________________)

      THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release/Reduction of Sentence. (Doc. No. 237).

                                          ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                                 Signed: October 6, 2021




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